                   EXHIBIT 3




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 November 27, 2015                                                  FILE NO: 27120.019023




 Via U.S. Mail and E-Mail


 Angela Gray, Esq.
 Gray Newell Thomas, LLP
 7 Corporate Center Court, Suite B
 Greensboro, NC 27408

 Re:     Lisa Cooper v. Tlte Smithfield Packing Company, Inc.
         Case No.: 7:13-cv-145-F

 Dear Angela:

 We have reviewed your client's responses to Defendant's First Set of Interrogatories to
 Plaintiff ("Smithfield's Interrogatories") and Defendant's First Request for Production of
 Documents to Plaintiff ("Smithfield's RFP"). There are several responses and/or objections
 with which we take issue. It is my belief that most, if not all, of our concerns require simple
 clarification on your client's behalf for the reasons set forth below, and should not pose any
 significant obstacle for the parties to overcome. Nevertheless, please consider this letter a
 good faith attempt to resolve a potential discovery dispute with respect to the following of
 Plaintiffs responses.

 A.      Smithfield's Interrogatories

         Defendant takes issue with the following responses to Smithfield's Interrogatories:

         5.      Describe in complete detail your employment history since reaching age
         eighteen (18) to date, including any employment held both prior to, and since, your
         period of employment with defendant. In answering ·this interrogatory, furnish the
         names of each prior employer, your immediate supervisor(s) and job title(s) for each
         such employer, the dates you held such employment, and the reason you changed
         positions and/or employers.



       ATLANTA AUSTIN BANGKOK BEIJING BRUSSELS CHARLOTTE DALLAS HOUSTON LONDON LOSANGELES
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       ANSWER: The Plaintiff cannot recall with specificity her employment since the age of
       eighteen (18); however, she knows that she worked for House of Raeford, Rocko, and
       Smithfield (1995-2011). The Plaintiff is currently employed at Kayser-Roth in
       Lumberton, NC where she has worked as a Line Inspector since November 15, 20 11
       She earns $645.00 every two (2) weeks, working approximately four (4) days per
       week/eight (8) hours per day. Her immediate supervisor is Lynn Sealey.

      Smithfield Reply: Plaintiff's response appears incomplete, in that it does not
      furnish the requested information including the Plaintiff's immediate
      supervisor(s) and job title(s) for each employer identified, the dates Plaintiff held
      employment with them, and the reason Plaintiff changed positions and/or
      employers. Additionally, we are unable to locate or identify any employer
      incorporated as, or doing business as, "Rocko," and request that Plaintiff provide
      additional information concerning the identity of that employer. As you know,
      information concerning the Plaintiff's prior employment history is relevant, and
      the omitted information is necessary in order for Defendant to fully investigate
      that history. See e.g., Quinn v. Conagra Foods Packaged Foods LLC, 2010 U.S.
      Dist. LEXIS 136645 (S.D. Ohio Sept. 10, 2010) (holding that records from four of
      the plaintiffs former employers were discoverable over the plaintiff's objection);
      Stewart v. Orion Fed. Credit Union, 285 F.R.D. 395 (W.D. Tenn. Aug. 2, 2012)
      (concluding that the plaintiffs' performance reviews, evaluations, and reasons for
      terminations from former employers were discoverable). Defendant requests a
      complete response to the requested information.

      6.     Please identify each government proceeding or investigation (including, but
      not limited to, North Carolina Department of Labor charges, Equal Employment
      Opportunity Commission charges of discrimination, unemployment compensation
      claims, workers' compensation claims, safety or health complaints), civil action or
      lawsuit you have been involved in as a party or witness (either through affidavits,
      deposition or other testimony). For each, describe in detail the nature of the
      proceeding (including but not limited to the case caption and number, the parties
      involved, where the suit was filed [county and state] and the outcome), and your
      connection to or role in that proceeding.

      ANSWER: The Plaintiff objects to this interrogatory on the grounds that it is
      irrelevant and not likely to lead to the discovery of admissible evidence.
      Notwithstanding this objection and without waiver thereof, the Plaintiff contends that




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       she was involved in an unemployment benefits claim against the Defendant herein;
       Docket No.: X-A -56829. The Plaintifffurther contends that she was involved in an
       EEOC Charge of Discrimination against the Defendant herein' Charge No.: 433-
       2012-00286.

       Smithfield Reply: Defendant asserts that the stated objection is without merit.
       Moreover, it is unclear from Plaintiff's response whether she has, in light of her
       stated objection, withheld information relating to other government proceedings,
       investigations, or law suits to which she has been a party. Plaintiff's participation
       in other government proceedings or investigations is relevant to her motives or
       bias, and to her credibility with respect to her present claim. See Pounds v. Board
       of Trustees, 215 F.3d 1320 (4th Cir. 2000) (finding that evidence of prior claims of
       discrimination against two previous employers admissible as impeachment at
       trial to show bias or motive); Stokes v. Xerox Corp., 2006 U.S. Dist. LEXIS 98888
       (E.D. Mich. Oct. 5, 2006) (holding that prior charges of discrimination are
       discoverable as they could bear on the plaintifrs credibility in present
       discrimination action); Maxwell v. Healtlz Center of Lake City, Inc., 2006 U.S.
       Dist. LEXIS 36774 (M.D. Fla. June 6, 2006) (same); Travers v. Travenol Labs.,
       Inc., 94 F.R.D. 92 (N.D. Ill. 1982) (permitting defendant to obtain documents
       from EEOC discrimination charge filed by plaintiff against a prior employer
       because such infor~ation might lead to admissible evidence as to plaintiffs intent
       and motive in filing the present action); Valentine v. Remke Markets, Inc., 2012
       U.S. Dist. LEXIS 35234 (S.D. Ohio Mar. 15, 2012) (declining to quash subpoena
       seeking employment records of former employer relating to charges of
       discrimination, finding that such records could lead to the discovery of
       admissible records). Defendant requests either clarification that the information
       provided by Plaintiff in response to interrogatory 6 is complete, or, alternatively,
       a complete response to the requested information.

      7.      Please identify any internal complaint of harassment or discrimination made by
      you, or on your behalf, to any employer with whom you have been employed. For
      each, describe in detail the nature of the complaint (including but not limited to the
      identity of the employer, including its name and business address, the date of the
      complaint, the individual( s) to whom the complaint was directed, the individual(s)
      alleged to have engaged in the conduct leading to the complaint, and the outcome of
      the complaint).




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       ANSWER: The Plaintiff objects to this interrogatory on the grounds that it is
       irrelevant and not likely to lead to the discovery of admissible evidence.
       Notwithstanding this objection and without waiver thereof, the Plaintiff contends that
       she complained in July 2011 to Jamie Pope about the harassment she was subjected to
       by Tommy Lowery.

       Smithfield Reply: Defendant takes issue with this response for the same reasons
       stated with respect to interrogatory number 6, above. Defendant requests either
       clarification that the information provided by Plaintiff in response to
       interrogatory 7 is complete, or, alternatively, a complete response to the
       requested information.

       12.     Please identify any other healthcare provider, including physicians,
       psychiatrists, psychologists, therapists, counselors, social workers, hospitals, clinics,
       and laboratories, from whom you have sought or. obtained treatment, advice,
       consultation, evaluation, testing, or other services at any time for any type of a mental
       or emotional illness or problem. For each such healthcare provider identified, state the
       name and address for the provider, the dates of treatment or examination, the reason
       for treatment or examination, identify and describe all documents that evidence,
       describe, or referred to such information, and state whether you contend any such
       treatment was related to the events which form the basis for the instant action.

       ANSWER: The Plaintiff objects to this interrogatory on the grounds that it is
       irrelevant, overly broad and not likely to lead to the discovery of admissible evidence.
       Notwithstanding this objection and without waiver thereof, the Plaintiff contends that
       her response to Interrogatory No. 11 is responsive to this request.

       Smithfield Response: Defendant asserts that the stated objection is without
       merit. Moreover, it is unclear from Plaintiff's response whether she bas, in light
       of her stated objection, withheld relevant requested information. Plaintiff bas
       placed her mental health squarely at issue through the allegations in the Fourth
       Amended Complaint, which allege that "as a result of Defendant Company's
       sexual harassment, [Plaintiff] has suffered and continues to suffer severe
       emotional distress, including but not limited to, headaches, chronic depression,
       insomnia, chronic anxiety, stress, 'nervous stomach,' and fear," and that "her
       medical doctor and therapist diagnosed [Plaintiff] as suffering from severe
       emotional distress as a result of the aforementioned behavior and prescribed




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       medication to treat her condition." Further, Plaintiff acknowledged both in her
       Fourth Amended Complaint and in response to interrogatory number 14, that
       she is seeking damages for emotional pain and mental anguish. As a result,
       information relating to other, or prior, treatment Plaintiff has received for any
       mental or emotional illness or problem, and the identity of the provider of such
       treatment, is clearly relevant to the cause of Plaintiff's alleged injury, as well as
       the credibility of her claim. For these reasons, Defendant requests either
       clarification that the information provided by Plaintiff in response to
       interrogatory 12 is complete, or, alternatively, a complete response to the
       requested information.

 B.    Smithfield's RFP's

       Defendant takes issue with the following responses to Smithfield's RFP's:

       17.   Your state and federal income tax returns from 201 0 through present, and all
       documents used in preparing those returns.

       RESPONSE: The Plaintiff objects to this interrogatory on the grounds that it is
       irrelevant, overly broad and not likely to lead to the discovery ofadmissible evidence.

      Smithfield Reply: The objection stated by Plaintiff is without merit. Plaintiff's
      tax returns are clearly discoverable both as a result of their relevance to
      Plaintiff's efforts relating to mitigation and since Plaintiff has pled damages for
      alleged pecuniary losses. See e.g., Jolznson v. Next Day Blinds Corp., 2011 U.S.
      Dist. LEXIS 113610 (D. Md. Oct. 3, 2011) (finding tax returns discoverable as a
      result of plaintiff's "allegations of lost income and future pecuniary losses");
      Barnette v. City of Charlotte, 2012 U.S. Dist. LEXIS 124795 (W.D.N.C. 4 Sept.
      2012) (directing plaintiff to produce tax returns even where W-2's and 1099's had
      been provided); Stewart v. VCU Healtlt Sys. Autlz., 2012 U.S. Dist. LEXIS 17777
      (E.D. Va. 13 Feb. 2012) (noting that plaintiff employee had been directed to
      produce tax returns that were relevant to his mitigation of damages and earned
      income after termination); Bricker v. R&A Pizza, Inc., 2011 U.S. Dist. LEXIS
      55324 (S.D. Ohio 23 May 2011) ("With respect to the issue of relevancy, courts
      typically f'md tax returns to be relevant in actions where a party's income is in
      issue, as, for example, where a claim for lost wages has been asserted••.. In such
      cases, the information in tax returns is relevant, especially as it relates to



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        mitigation of damages.") (citations omitted); Rosson v. Wyndlzam Vacations
        Resorts, Inc., 2011 U.S. Dist. LEXIS 2609 (M.D. Tenn. 11 Jan. 2011) (affirming
        magistrate judge's order directing plaintiff to produce tax returns on grounds
        that the tax returns were relevant to plaintiff's duty to mitigate damages and
        claim for damages in addition to his credibility). Not only does Plaintiff have an
        obligation to produce the requested tax return records within her possession and
        control, courts have determined that, where tax returns are discoverable because
        of allegations of lost income and future pecuniary losses, parties are required to
        avail themselves of procedures to obtain tax records not within their direct
        possession. See e.g., Jolznson v. Next Day Blinds Corp., infra. Defendant requests
        that Plaintiff produce the information requested in request for production 17.

        30.      An executed authorization for release of medical records for each healthcare
        provider identified in response to Interrogatories ten (10) and eleven (11) 1 of the
        Defendant's First Set of Interrogatories to Plaintiff, authorizing the disclosure and
        production of relevant medical records to the law fum of Hunton & Williams LLP, for
        its use in connection with this action, and for no other purpose. An unexecuted copy of
        the request authorization for release of medical records has been attached hereto for
        your convenience and execution.

       RESPONSE: The Plaintiff will request medical records responsive to this request and
       produce them to the Defendant forthwith.

       Smithfield's Reolv: Defendant takes issue with this response for all of the
       reasons stated with respect to Plaintiff's response to interrogatory 12, above, and
       to the extent that Plaintiff proposes to limit the scope of the medical records she
       will either obtain or produce. Defendant is entitled to records relating to the
       medical treatment Plaintiff allegedly sought as a result of the events alleged in
       this case as well as records relating to other, or prior, treatment Plaintiff received
       for any mental or emotional illness or problem. Additionally, and while we

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         Defendant's RFP 30 inadvertently requested a medical release for each healthcare
provider identified in Plaintiff's responses to Interrogatories ten (10) and eleven (11). The
document request in RFP 30 was meant to refer to Interrogatories eleven (11) and twelve (12),
which are the interrogatories that ask Plaintiff to identify her relevant healthcare providers. I
assume you recognized this error, but to eliminate any confusion please be guided accordingly
in any supplemental responses to RFP 30.



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        appreciate Plaintiff's offer to gather and produce the medical records at issue, we
        do not believe it is appropriate for her to serve as a "gatekeeper" to what records
        are relevant, and whether they will be produced in response to this request. See
        EEOC v. New Hanover Reg'l Med. Ctr., 2010 U.S. Dist. LEXIS 119177 (E.D.N.C.
        Nov. 9, 2010) (rejecting plaintiff's demand to gather and produce relevant
        medical records in lieu of executing requested authorization for release).
        Defenda~t requests that, in addition to providing a complete response to
        interrogatory 12, above, Plaintiff execute and return authorizations for release of
        medical records for each healthcare provider from whom Plaintiff sought or
        obtained treatment, advice, consultation, evaluation, testing, or other services at
        any time for any type of a mental or emotional illness or problem.

 In the interest of continuing to pursue discovery expeditiously, we would appreciate amended
 responses to the foregoing interrogatories and requests on or before Monday, December 7,
 2015. We are hopeful that we can satisfactorily resolve each of the issues raised above. To
 that end, please let me know ifyou have any questions or would like to discuss any of these
 issues further.




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